Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 1 of 45 PageID #:2600
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 2 of 45 PageID #:2601
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 3 of 45 PageID #:2602
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 4 of 45 PageID #:2603
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 5 of 45 PageID #:2604
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 6 of 45 PageID #:2605
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 7 of 45 PageID #:2606
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 8 of 45 PageID #:2607
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 9 of 45 PageID #:2608
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 10 of 45 PageID #:2609
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 11 of 45 PageID #:2610
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 12 of 45 PageID #:2611
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 13 of 45 PageID #:2612
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 14 of 45 PageID #:2613
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 15 of 45 PageID #:2614
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 16 of 45 PageID #:2615
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 17 of 45 PageID #:2616
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 18 of 45 PageID #:2617
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 19 of 45 PageID #:2618
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 20 of 45 PageID #:2619
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 21 of 45 PageID #:2620
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 22 of 45 PageID #:2621
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 23 of 45 PageID #:2622
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 24 of 45 PageID #:2623
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 25 of 45 PageID #:2624
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 26 of 45 PageID #:2625
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 27 of 45 PageID #:2626
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 28 of 45 PageID #:2627
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 29 of 45 PageID #:2628
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 30 of 45 PageID #:2629
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 31 of 45 PageID #:2630
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 32 of 45 PageID #:2631
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 33 of 45 PageID #:2632
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 34 of 45 PageID #:2633
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 35 of 45 PageID #:2634
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 36 of 45 PageID #:2635
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 37 of 45 PageID #:2636
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 38 of 45 PageID #:2637
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 39 of 45 PageID #:2638
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 40 of 45 PageID #:2639
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 41 of 45 PageID #:2640
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 42 of 45 PageID #:2641
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 43 of 45 PageID #:2642
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 44 of 45 PageID #:2643
Case: 1:04-cr-00531 Document #: 438 Filed: 06/02/22 Page 45 of 45 PageID #:2644
